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                      UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION



     In re PVC Pipe Antitrust Litigation      Case No. 1:24-cv-07639

     This Document Relates to:                Hon. LaShonda A. Hunt

     Non-Converter Seller Purchaser Class


 NON-CONVERTER SELLER PURCHASER CLASS PLAINTIFFS’ MEMORANDUM
OF LAW IN OPPOSITION TO ERIE COUNTY WATER AUTHORITY’S MOTION FOR
LEAVE TO PLEAD A SEPARATE END-USER CLASS AND TO APPOINT DEDICATED
                      END-USER CLASS COUNSEL
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          Erie County Water Authority (“ECWA”), a plaintiff identically situated to two named

plaintiffs in the Non-Converter Seller Purchaser (“NCSP”) Class Plaintiffs’ complaint, seeks leave

to plead a separate “end-user” class.1 ECWA, whose counsel simply copied the first-filed

complaint, claims that the Court must take this step now to cure a “fundamental” conflict among

members of the NCSP Class. But the purported conflict has not yet, and may never, manifest.

Further, because ECWA misunderstands the PVC pipe market, its proposed fix would not solve

the conflict if one did ever arise. The Court should deny ECWA’s Motion, or if the Court believes

it must act now, then it should subclass based on the level of indirect purchaser (first vs. second),

not by use case (reseller vs. end use).

         I.            Background.

                A.       Relevant Case History.

          Bavolak, Wrobbel, and TC Construction were the first cases filed alleging a PVC pipe

price-fixing conspiracy. Bavolak and TC Construction were brought by indirect purchaser

contractors, and Wrobbel was brought by an end-user consumer.2 On September 30, 2024, the

Court appointed the undersigned, filers of those cases, as Co-Lead Counsel for a putative class

consisting of “all purchasers of PVC Pipes through a non-converter seller”3 and consolidated all

actions on behalf of purchasers from non-converter sellers under Co-Lead Counsel’s leadership.4

          Prior to and following appointment, Co-Lead Counsel engaged in extensive work on behalf

of the NCSP Class, including retaining experts, conducting a robust factual investigation,



1
  Erie County Water Authority’s Motion for Leave to Plead a Separate End-User Class and to Appoint
Dedicated End-User Class Counsel, ECF No. 237 (“Motion”).
2
  See Bavolak v. Atkore, ECF No. 1; Wrobbel v. Atkore Inc., No. 1:24-cv-8012 (N.D. Ill.), ECF No. 1; TC
Constr., Inc. v. Atkore Inc., No. 1:24-cv-08281 (N.D. Ill.), ECF No. 1.
3
    See ECF No. 122; ECF No. 164.
4
    See ECF No. 165.


                                                  1
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appearing at multiple in-person hearings, coordinating with all parties on consolidation and case

deadlines, ensuring service of the complaints, holding a Rule 26(f) conference, serving discovery,

and vetting potential class representatives.5 On October 30, Co-Lead Counsel filed the 114-page

NCSP Consolidated Complaint (“NCSP Complaint”), incorporating their work and adding as

named Plaintiffs City of Omaha, a municipal water service provider, and Water District No. 1 of

Johnson County (Kansas), a quasi-municipal independent water utility, among others.6

                 B.     Fegan Scott’s First Complaint and NCSPs’ Motion to Enforce.

          On November 7, 2024, Defendant Otter Tail revealed a federal criminal grand jury inquiry

into price-fixing in the PVC pipe industry.7 The next day, Fegan Scott filed a complaint, seeking

at that time to represent a class of public water or sewer systems that purchased PVC municipal

water pipe for end use.8 Though the NCSP Complaint had been filed a week earlier, and counsel

for ECWA claimed to have reviewed it with interest, over 90% of the paragraphs in the ECWA

complaint were copied, in whole or in part, from the Bavolak complaint, filed months earlier.9

          Co-Lead Counsel moved to relate Erie County to this action and enforce the Court’s NCSP

leadership and consolidation orders (“Motion to Enforce”).10 At the November 20 hearing on that



5
  See, e.g., ECF Nos. 27 (Joint Stipulation of the Parties), 109 (Order regarding parties’ stipulation on
relatedness, reassignment and initial case deadlines).
6
    See ECF No. 179 at ¶¶ 17-23.
7
  See Otter Tail 10-Q for Q3 2024, Nov. 7, 2024, available at https://d18rn0p25nwr6d.cloudfront.net/CIK-
0001466593/6ba90aa1-d2b0-424c-94b4-e939b7e0e42e.pdf.
8
  The full definition reads, “All Public Water or Sewer Systems which (i) provide drinking water to the
public or which are responsible for public sewage and wastewater services and (ii) purchased PVC
municipal water pipes produced or distributed by Defendants or their Co-Conspirators for end use,” Erie
Cnty. Water Auth. v. Atkore Inc., No. 1:24-cv-11531 (N.D. Ill.), ECF No. 1, at ¶ 105; part (i) of the definition
is used by the Environmental Protection Agency in connection with PFAS-related litigation.
9
 See Declaration of Brian D. Clark in Support of Non-Converter Seller Purchaser Class Plaintiffs’
Memorandum of Law in Opposition to Erie County Water Authority’s Motion for Leave to Plead a Separate
End-User Class and to Appoint Dedicated End-User Class Counsel (“Clark Decl.”) at ¶¶ 3-4.
10
     See ECF No. 206.


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motion, counsel for ECWA explained that she believed a “fundamental” conflict existed and sought

to represent the interests of the water service providers that she claimed had conflicts with the rest

of the NCSP Class.11 Co-Lead Counsel argued that the proposed carve-out class was disconnected

from the economic realities in the PVC pipe market, that there was no current conflict, and that

ECWA’s proposed fix would have the same alleged problem that ECWA raised. The Court granted

the Motion to Enforce, relating Erie County to Bavolak, but ordered briefing on subclassing.12

                  C.     Fegan Scott’s Second Complaint.

           Recognizing that their initial attempt to create a new class did not pass muster, Fegan Scott

changed strategies. Between the Motion to Enforce hearing and the deadline to move for additional

subclasses, Fegan Scott filed a second complaint, Baumeister v. Atkore Inc., No. 1:24-cv-13127

(N.D. Ill.). Again, the complaint was nearly identical to Bavolak, and all of the additional

allegations in the NCSP Complaint were absent.13 Baumeister also completely changed the group

that Fegan Scott seeks to represent. Rather than “Public Water and Sewer Systems”—as Fegan

Scott initially argued should be carved out into a separate subclass—it now seeks to represent “[a]ll

persons or entities that . . . [indirectly] purchased for end-use PVC Pipe.”14

           In sum, despite having contributed nothing to the actual prosecution of the NCSP Class’s

claims to date, Fegan Scott now seeks to represent a substantial portion of the purchasers in that

Class, all of whose interests are already represented by similarly situated Plaintiffs named in the

NCSP Complaint. Such blatant free riding is wasteful and should be rejected. Indeed, the change


11
  ECWA erroneously (and repeatedly) claims that governmental entities were “expressly excluded” from
the first-filed complaints, and so the NCSP Complaint’s inclusion of governmental entities “was a
fundamental change to [sic] approach.” Motion at 4. Not so; the class alleged in the second-filed case,
Wrobbel, included non-federal governmental entities. See Complaint, Wrobbel, ECF No. 1, at ¶¶ 111-12.
12
     See ECF No. 213, at 2.
13
     Clark Decl., ¶ 5.
14
     See Baumeister, ECF No. 1, at ¶ 110.


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in the class definition between from Fegan Scott’s first and second complaint suggests that the

interests of the class are secondary to counsel’s desire to inject itself into this matter.

         II.        Counsel for ECWA Fundamentally Misunderstands the PVC Pipe Market

         In addition to providing zero additional substantive factual allegations on merits issues

across their two complaints, it appears that counsel for ECWA has not dedicated the effort to

understand how the PVC pipe market actually functions, as explained below.

               A.     The PVC Pipe Market Is Not Segmented Such that End Users Are at a
                      Distinct Level of Resale.

         In some markets, reseller and end-user transactions occur at distinct levels of the

distribution chain. The PVC pipe market does not function that way. Instead, it has multiple levels

of resale, with end users on both the first and second levels of indirect resale:

                               Figure 1: PVC Pipe Market Structure15




15
 Unlike ECWA, the NCSP Class are not changing arguments midstream. This identical chart appeared in
NCSP’s Motion to Enforce. See Motion to Enforce, at 6 (Figure 2).


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                 B.    End Users of PVC Pipe Occupy Multiple Levels of Resale.

           As Figure 1 shows, the distribution chain for PVC pipe has end users at every level.16

Indeed, the same groups of end users appear multiple times at multiple levels. Apart from

contractors, every other PVC pipe seller has both reseller and end user customers. This market

structure makes sense from the perspectives of both the seller and the buyer. Some converters only

sell to large distributors, but even ECWA acknowledges that distributors sell both to end users and

other resellers.17 Home Depot is agnostic as to whether the customer buying PVC pipe in one of

their stores is a contractor remodeling a homeowner’s bathroom or the homeowner doing the

remodel herself—it explicitly caters to both. On the buy side, a contractor could purchase PVC

pipe from a distributor or a retailer.18 Some municipal and quasi-municipal water agencies (the

group Fegan Scott initially sought to represent) buy from distributors and from contractors.19 These

market characteristics are absent from the markets (and cases) to which Fegan Scott points.

                 C.    The PVC Pipe Market Imagined by ECWA Does Not Comport with
                       Reality.

           In an attempt to overcome these economic realities and support the creation of a separate

end user class, ECWA relies on a misleading graphic depicting the PVC pipe market:




16
  See TC Construction Co. Inc. Decl., at ¶¶ 3-4 (“the U.S. PVC pipe market structure includes the following
purchase levels: (a) businesses that buy PVC pipe directly from converters [], (b) purchasers that buy from
the businesses that buy directly from converters [], and (c) farther down the chain, purchasers that buy from
those that buy from the distributors and improvement stores []”, attached to the Clark Decl. as Ex. A (“TC
Constr. Decl.”).
17
   See, e.g., Ex.1 to the Report of Janet S. Netz, Ph.D. in Support of End User Plaintiffs’ Motion for Leave
to Plead a Separate End User Class (ECF No. 238-1) (“Netz Report”) at 37 (“Netz PVC Product Distribution
Chain”) (showing that “Direct Purchasers” sell to both “IPP Resellers” and “IPP End Users”).
18
  See TC Constr. Decl., Figure 1 at 2.
19
     Id.


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                        Figure 2: Netz PVC Product Distribution Chain




This graphic is factually incorrect in several ways: (1) it (at least) fails to account for some larger

retailers, contractors, and utilities that buy PVC pipe directly from converters; (2) it fails to account

for the fact that some PVC pipe distributors sell to property owner end users; and (3) it fails to

account for the fact that some municipalities and water utilities also perform PVC pipe work for

other neighboring municipalities and water utilities.

        Even more troubling, this graphic contains sideways arrows at the “IPP Resellers” level.

This sleight of hand attempts to mask the fact that there are additional levels of resale in the PVC

pipe market. Self-servingly, the end result of this reimagined distribution chain is that every PVC

pipe transaction ends up in the end user class regardless of the nature or terms of the purchase.

When drawn with only vertical arrows, with the groups Fegan Scott now seeks to represent

outlined in yellow, the graphic looks like this:




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      Figure 3: Netz’s Description of the PVC Pipe Market With Sideways Arrows Removed




Thus, even were the Court to take this erroneous depiction of the PVC pipe market at face value,

municipalities and water utilities are first-level indirect purchasers; contractors are first- or second-

level indirects; and property owners are either second- or third-level indirects.

        III.       Any Purported NCSP Class Conflict Is Hypothetical and Based on
                   ECWA’s Misunderstanding of the PVC Pipe Market.

        ECWA’s erroneous argument regarding conflict boils down to this: there is a “fundamental”

conflict in representing both first- and second-level indirect purchasers because to maximize their

respective damages, the first-level indirect purchaser would have an incentive to show 0 percent

pass through at the first level, and the second-level indirect purchaser would have an incentive to

show 100 percent pass through at the first level. Therefore, according to ECWA, the two levels of

purchasers’ interests are in conflict because those positions cannot both prevail. Even if this were

a conflict, ECWA fails to offer a solution that would cure it.




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                  A.     Pass Through Conflicts Can Manifest Between Different Levels of
                         Resale, Not Between Resellers and End Users on the Same Level of
                         Resale.

           As ECWA’s economist rightly observes, analysis of pass through is central to indirect

purchaser antitrust cases. Pass through is a measure of how much, if any, of a manufacturer’s

anticompetitive overcharge is not borne by one purchaser but is instead passed through to the next

purchaser in the distribution chain.20 ECWA contends that a conflict related to pass through

precludes Co-Lead Counsel from representing end users in the NCSP Class because, according to

ECWA’s erroneous presumption, end users are all second-level purchasers. This simply is not the

case, as discussed above.

           Critically, the purported conflict identified by Fegan Scott is between first- and second-

level indirect purchasers (and a similar conflict could hypothetically arise between second- and

third-level indirects, between third- and fourth-level indirects, and so on). There is no inherent

conflict between indirect purchaser end users and resellers that exists without regard for the level

of resale either sits on.21 For example, first-level indirect purchasers are all incentivized to

demonstrate that direct purchasers passed through 100 percent of the overcharge to them. If that

first-level indirect is a reseller, it is incentivized to demonstrate a 0 percent pass through rate to

second-level indirects. If that first-level indirect is an end user, its pass through rate to second-level

indirects is 0 percent by definition.22 This is true at each level of resale—there is no conflict

because all plaintiffs on each level share identical pass through incentives.



20
  See, e.g., In re Google Play Store Antitrust Litig., No. 21-md-02981-JD, 2022 WL 17252587, at *9 (N.D.
Cal. Nov. 28, 2022) (“In the antitrust context, pass-through typically refers to the passing on of overcharges
through distribution networks to downstream purchasers.”).
21
     See also Decl. of David E. Kovel at ¶¶ 7-8, 10, attached to the Clark Decl. as Ex. B (“Kovel Decl.”).
22
  See Netz Report at 12 (“[B]y definition [indirect] End-Users are not able to pass on any of the overcharge
that they pay.”).


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           ECWA relies heavily on Judge Durkin’s decision in In re Broiler Chicken Antitrust

Litigation, No. 1:16-cv-08637 (N.D. Ill.) (“Broilers”),23 but Broilers is distinguishable in light of

the major differences that exist between the PVC pipe and chicken markets—differences ECWA

does not even attempt to address. These include:

              Here, NCSP Plaintiffs allege that non-converter sellers (distributors) took part in the
               conspiracy24 and, therefore, claims by first-level purchasers from distributors may
               sound as direct claims and pass-on is less relevant.25 There was no corresponding claim
               or similar possible outcome in Broilers.26

              The original indirect class in Broilers focused primarily on commercial and restaurant
               purchasers, creating a potential gap in representation.27 Here, in contrast, the NCSP
               Complaint encompasses claims by entities such as Water District No. 1 of Johnson
               County (Kansas), a quasi-municipal agency that is a PVC pipe end user.28 Therefore,
               NCSP Plaintiffs have obviously already contemplated the inclusion of these entities,
               and those similarly situated, into the NCSP Class.

           ECWA fares no better with its other cases. The decision in In re Payment Card Interchange

Fee and Merchant Discount Antitrust Litigation arose in the context of a global settlement and

involved tension between monetary value secured by a retrospective damages class versus value

secured for a prospective injunctive relief class. 827 F.3d 223, 234 (2nd Cir. 2016). The court

considered the fairness of the forward-looking release included in the proposed settlement and the

fact that members of the injunctive relief class could not opt out of the settlement, id., concerns

that do not exist here. Interchange does not even discuss pass through. To the extent it is applicable



23
     See Broilers, No. 1:16-cv-08637 (N.D. Ill.), ECF Nos. 218 & 243.
24
  See, e.g., ECF No. 180 at ¶¶ 165-176.
25
   See id. at ¶ 281 (“Because of the Nationwide Class definition and the allegations against distributors
contained herein, the claims of Plaintiffs and the Nationwide Class may sound as direct claims or indirect
claims depending on the Court’s eventual finding after discovery regarding the distributors’ involvement in
the conspiracy.”).
26
     See Declaration of Brent W. Johnson at ¶ 7, attached to the Clark Decl. as Ex. E (“Johnson Decl.”).
27
     See, e.g., Broilers, ECF No. 238 at 3.
28
 See, e.g., ECF No. 180 at ¶¶ 18, 21 (identifying the City of Omaha and Water District No. 1 of Johnson
County (Kansas) as named plaintiffs); Kovel Decl. at ¶¶ 4-5.


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at all, it instructs courts to carefully scrutinize settlement agreements for evidence of a conflict like

the hypothetical one ECWA has identified; Interchange, however, does not recommend courts

appoint separate class counsel for every possible permutation of indirect purchaser.29 ECWA’s

reliance on In re OSB Antitrust Litigation, No. 06-cv-826, 2007 WL 2253425, at *5 (E.D. Pa. Aug.

3, 2007) is also inapt.30 Not only did the OSB court disqualify proposed class representatives that

were both resellers and end users from representing end users solely on credibility, not interclass

conflict, grounds, it explicitly stated that those representatives’ dual status as resellers and end

users did not create a conflict. Id. at *7 (“[A]lthough the admitted failure of Messrs. Parr, Roberts,

and Wussler to pass through OSB overcharges does not create a conflict, it does render them

inadequate class representatives.”).

                 B.     ECWA Makes Two Fundamental Legal Errors in Its Ethical Analyses.

          First, Fegan Scott and its ethicist seem to conflate injury with damages. To prove antitrust

injury, a plaintiff must satisfy a two-prong test: (i) the injury is of the type the antitrust laws were

intended to prevent and (ii) the injury flows from that which makes the defendant’s conduct

unlawful. This is true whether the plaintiff is an end-user or a reseller—all Plaintiffs will seek to

prove the same antitrust injury (i.e., overcharges). Divergence among the NCSP class, if any,




29
  Many antitrust cases proceed with a single class of indirect purchasers that includes both resellers and
end users. See, e.g., Sullivan v. DB Invs., Inc., 667 F.3d 273, 315 (3d Cir. 2011) (affirming global settlement
that included a single class of “purchasers of any diamond product in the United States except for those
who purchased directly from De Beers or its competitors”); In re Parking Heaters Antitrust Litig., 310
F.R.D. 54, 58 (E.D.N.Y. 2015) (rejecting argument that single class of indirect purchasers is inappropriate
due to conflict, concluding “it may well be preferable, and entirely proper, for a putative class of indirect
purchasers to try to maximize its collective recovery and then divvy up the spoils among themselves
pursuant to judicially supervised procedures”); Kovel Decl. at ¶¶ 6-9 (NCSP Plaintiff Water One previously
represented all indirect purchasers in In re Ductile Iron Pipe Fittings (“DIPF”) Indirect Purchaser Antitrust
Litigation, No. 3:12-cv-00169 (D.N.J.)).
30
     See ECF No. 238 at 7-8.


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would be in proving damages, not in proving injury. And courts regularly find the absence of a

conflict when damages are the point at which class members’ interests diverge.31

           Second, Fegan Scott’s ethicist fails entirely to account for the fact that, as a class action,

this case is governed by ABA Model Rule 1.7 and Federal Rule of Civil Procedure 23 and therefore

applies the wrong ethical standard. As explained in the accompanying report of ethicist Wendy

Muchman, “It is impossible to consider whether or not a conflict exists in this class action matter

without examining F.R.C.P. 23 and the Court’s ability (and obligation) to monitor the adequacy of

representation under that Rule, and then considering, also in the class action context, the potentially

applicability of MR 1.7, relating to conflicts of interest.”32 Moreover, even focusing solely on

Model Rule 1.7 without regard for Rule 23, there clearly is no conflict based on the material

limitation standard, as explained in detail in Muchman’s report.33

                     C.   It Is Premature to Address the Hypothetical Conflict Identified by
                          ECWA.

           The conflict identified by ECWA is purely hypothetical; indeed, ECWA offers no evidence

that it currently exists. The lack of a present conflict means the Court is under no obligation to act




31
   See, e.g., First Impressions Salon, Inc. v. Nat’l Milk Producers Fed’n, No. 3:13-cv-00454-NJR-SCW,
2017 WL 11681189, at *7 (S.D. Ill. Sept. 29, 2017) (rejecting argument at class certification that “individual
consumer plaintiffs are unable to represent industrial, food service, or retail buyers” absent circumstances
where the “evidence needed to prove the conspiracy impacting individual purchasers was different from
the evidence needed to prove the conspiracy impacting wholesale purchasers”); In re Sumitomo Copper
Litig., 182 F.R.D. 85, 92 (S.D.N.Y. 1998) (rejecting at class certification “conflict arguments [that] apply
only to the issue of damages and can be dealt with by the Court at that time”); In re NASDAQ Mkt.-Makers
Antitrust Litig., 169 F.R.D. 493, 514 (S.D.N.Y. 1996) (“[T]he benefit or detriment to particular class
members ... goes to the amount of damages, if any, suffered by them. There is no antagonism within any of
the classes with respect to proving that defendants did indeed illegally conspire”) (internal quotation and
citation omitted).
32
  Report of Wendy J. Muchman at 10-11(internal quotation omitted), attached to the Clark Decl. as Ex. C
(“Muchman Rep.”).
33
     Id. at 12-17.


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now to cure anything.34 This is especially true given that discovery has not commenced but is

likely to reveal key facts.35 Moreover, under Model Rule 1.7, in order for there to be a conflict in

representation, there must be “a substantial risk of a material limitation on the lawyer’s actions”—

a risk that is “immediate not just a potential risk or based upon speculation.”36 ECWA’s Motion

thus can be denied on prematurity grounds alone.37

          The Motion fails to address a significant fact further counseling against splitting up the

NCSP Class at this stage: if Plaintiffs succeed in proving that the three major PVC pipe distributors

are co-conspirators in Defendants’ price-fixing scheme,38 then the first level of purchases from

those distributors would be treated as direct purchases from a legal perspective, and there would

be no pass-through defense available to Defendants for sales from first-level to second-level


34
   See, e.g., Kohen v. Pac. Inv. Mgmt. Co., 571 F.3d 672, 680 (7th Cir. 2009) (“At this stage in the litigation,
the existence of such conflicts is hypothetical. If and when they become real, the district court can certify
subclasses with separate representation of each[.]”). A court recently maintained a single co-lead counsel
structure when faced with a similarly speculative and premature challenges to the structure of an indirect
purchaser class. See In re Shale Oil Antitrust Litig., No. 1:24-md-03119 (D.N.M. Dec. 20, 2024), ECF No.
83, at 2 n.1 (quoting Fed. R. Civ. P. 23(c)) (rejecting two firms’ attempts to represent what were, essentially,
subclasses of the larger indirect purchaser class, stating that it “need not decide (even preliminarily) on that
issue now. The class definition—and any subclasses—may be defined as the case proceeds”), attached to
the Clark Decl. as Ex. D.
35
   See Johnson Decl. at ¶ 6 (“During discovery in [Broilers], we learned that, in fact, no named plaintiff for
the Commercial and Institutional Indirect Purchaser Class (the “CIIP Class”) resold broiler chicken in a
form that was included within the End-User Consumer class definition. Instead, the CIIP Class operated in
a separate distribution channel, with the End-User Consumer class members purchasing largely from direct-
purchaser grocery stores, whereas the CIIP class purchased from direct-purchaser distributors.”).
36
     Muchman Rep. at 13 (internal quotations omitted); see also discussion id. at 13-14.
37
  See Kohen, 571 F.3d at 680 (“To deny class certification now, because of a potential conflict of interest
that may not become actual, would be premature.”); In re Terazosin Hydrochloride Antitrust Litig., 220
F.R.D. 672, 690 n.28 (S.D. Fla. 2004) (rejecting arguments “that conflict necessarily exists between” two
groups of plaintiffs within the same class because one group “will presumably seek to maximize their
damages to the detriment of” the other group as “hypothetical”); In re Cardizem CD Antitrust Litig., 200
F.R.D. 326, 337 (E.D. Mich. 2001) (rejecting arguments that groups within the same class “may conflict”
because one group “will presumably seek to maximize its damages to the detriment” of the other, stating
that for a conflict to be disabling, “there must be an actual showing of a real probability of a potential
conflict which goes to the subject matter of the suit”).
38
   See NCSP Complaint, ECF No. 180 at ¶¶ 165-176, 264, 281. Even ECWA acknowledges that their role
is not yet clear. See ECF No. 238 at 2-3 n.3.


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indirects.39 If first-level indirects are legally considered direct purchasers, there is no need for them

to show pass through, and the second-level indirect could not have a pass through-related conflict

with the first-level indirect. Thus, prior to the determination of the distributors’ role in the

conspiracy, forcing members of the NCSP to forgo the possibility of pursuing direct claims is not

in the interests of the NCSP class.40 Notably, this issue of the distributor role in the conspiracy was

completely absent in Broilers.41

                  D.      The Proposed “End-User Class” Contains Purchasers at Both the First
                          and Second Resale Levels and Would Fail to Cure the Hypothetical
                          Conflict.

           Fegan Scott’s proposed “cure” would result in an end-user class that contains first-, second-

, and third-level indirect purchasers, as demonstrated in Figure 3 above—just as exists in the NCSP

Class now and not solving the potential conflict ECWA raised. Moreover, that purported fix would

result in an efficiency drain due additional counsel duplicating efforts and would saddle the NCSP

Class with the costs of having another set of counsel seeking fees from any recovery. As noted

above, Fegan Scott’s complaints are near-duplicates of an outdated, subset of the NCSP Complaint.

There can be no serious debate that the NCSP Class and Fegan Scott’s end-user class (if created)

would litigate the exact same case in nearly all material respects. They would both have to prove

the same liability case, including proving the same injury, in the same antitrust market and would

have to conduct the same direct-to-first-level-indirect pass-through analysis. Further, nearly all of


39
   See Hanover Shoe, Inc. v. United Shoe Mach. Corp., 392 U.S. 481, 494 (1968); Marion Diagnostic Ctr.,
LLC v. Becton Dickinson & Co., 29 F.4th 337, 342 (7th Cir. 2022) (recognizing “a conspiracy ‘exception’
to Illinois Brick [Co. v. Ill., 431 U.S. 720 (1977)], in which plaintiffs who purchase from one member of an
antitrust conspiracy may bring suit against any member of the conspiracy”).
40
   See, e.g., In re FICO Antitrust Litig., No. 1:20-cv-02114, 2021 WL 4478042, at *4 (N.D. Ill. Sept. 30,
2021) (declining to appoint counsel pursuing only indirect claims to represent plaintiffs with potential direct
claims because that “would prejudice those plaintiffs” who “are entitled to be represented by the more
aggressive counsel that will pursue all potentially viable claims on their behalf”).
41
     See §III.B, infra.


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the Rule 23 factors for class certification would overlap.42 Fegan Scott would therefore incur costs

and lodestar, and generate complexity in conducting discovery and management of the case for all

parties, in a way that serves no one, particularly Fegan Scott’s proposed NCSP Class carve-out.

Plus, there simply is no evidence that Co-Lead Counsel would not fairly represent the interests of

all members of the NCSP Class.43

                  E.     Less Costly and More Efficient Remedies Are Available If this
                         Hypothetical Conflict Manifests in the Future.

           Dividing the NCSP Class along Fegan Scott’s self-serving lines would require an incredible

amount of duplicative work that will be costly to the NCSP Class, as described in more detail

above. Pass through is important, but Co-Lead Counsel respectfully submit that calculating it is

not difficult enough to warrant adding separate counsel to run up years’ worth of fees, and in

particular expert costs, for duplicative work at the NCSP Class’s expense.

           Instead, if a conflict arises at some point in the future, the Court can address it then. If

during or after discovery, the Court could subclass the NCSP Class and appoint subclass counsel

then.44 If during settlement, the Court could appoint allocation counsel to represent second-level

purchasers, or Co-Lead Counsel could submit the allocation issue to arbitration.45 These options,


42
     See also discussion in Kovel Decl. at ¶¶ 8-10.
43
   The experience of WaterOne’s counsel is instructive on this point: “[D]uring the pendency of the Iron
Pipe litigation end users and resellers worked together and effectively managed the action through
settlement. The class representatives distributed the settlement proceeds using economic metrics. While
pass through is always a factor in indirect purchaser cases, in Iron Pipe I never saw any conflict arise among
the class during that action.” Id. ¶ 9.
44
   See Kohen, 571 F.3d at 680 (“If and when [such conflicts] become real, the district court can certify
subclasses with separate representation of each[.]”).
45
  See, e.g., In re Keurig Green Mountain Single-Serve Antitrust Litig., MDL No. 14-2542-VSB, 2021 WL
10724138, at *2 (S.D.N.Y. June 2, 2021) (special master recommending rejection of settlement objections
based on interclass conflict, concluding, “Class counsel and Allocation Counsel worked professionally and
responsibly to achieve a fair and reasonable Plan of Allocation”); In re Lithium Ion Batteries Antitrust Litig.,
No. 21-15120, 2022 WL 16959377, at *2 n.2 (9th Cir. Nov. 16, 2022) (settlement approved after IPPs
recommended a “stipulated adversarial process” where arbitrator “considered extensive analysis and



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which would save the NCSP Class from paying years of duplicative attorney time and expert costs,

are far superior to ECWA’s proposal. It is more efficient to wait until a conflict actually exists to

address it with a solution tailored to the specific situation.

       IV.         If the Conflict Issue Must Be Addressed Now, the Proper Remedy Is
                   Appointing Counsel for a Class of Second-Level Purchasers.

        For the reasons detailed above, Co-Lead Counsel do not agree that there is a present

conflict. However, if the Court determines otherwise, Fegan Scott’s proposed solution to create a

separate “end-user” class makes little sense, as explained above and depicted in Figures 1 and 3.

Instead, the better solution would be to appoint separate counsel for a subclass of second-level

indirect purchasers through a non-converter seller. Co-Lead Counsel respectfully request that, if

the Court decides that such an appointment is necessary, the Court invite all counsel interested in

the role to apply. Many talented antitrust attorneys have been engaged substantively in this

litigation since the summer. By way of their assistance to Co-Lead Counsel in prosecuting this

action to date, these attorneys have already provided more value to the NCSP Class than Fegan

Scott and did so long before the news of a Department of Justice criminal grand jury inquiry.

                                           CONCLUSION

        Splitting up the NCSP Class for a hypothetical conflict is unnecessary and inefficient.

Further, the purported solution proposed does not solve the hypothetical conflict raised. For all the

reasons discussed above, and in the accompanying declarations and report, the Court should deny

ECWA’s Motion.




rendered findings and recommendations concerning an appropriate allocation as between the two groups of
putative class members”).


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  Dated: January 22, 2025                     Respectfully submitted,

LOCKRIDGE GRINDAL NAUEN PLLP                   SCOTT+SCOTT ATTORNEYS AT LAW LLP

/s/ Brian D. Clark                             /s/ Karin E. Garvey
Brian D. Clark (MN #0390069)                   Karin E. Garvey (N.D. Ill. Bar No. 2997831)
Simeon A. Morbey (MN #0391338)                 Brian M. Hogan (N.D. Ill. Bar No. 6286419)
Eura Chang (MN #0403526)                       Donald A. Broggi (pro hac vice pending)
Consuela Abotsi-Kowu (MN #0505682) (pro        The Helmsley Building
hac vice forthcoming)                          230 Park Ave., 24th Floor
100 Washington Avenue South, Suite 2200        New York, NY 10169
Minneapolis, Minnesota 55401                   (212) 223-6444
(612) 339-6900                                 kgarvey@scott-scott.com
bdclark@locklaw.com                            brian.hogan@scott-scott.com
samorbey@locklaw.com                           dbroggi@scott-scott.com
echang@locklaw.com
cmabotsi-kowu@locklaw.com                      Patrick J. Coughlin (N.D. Ill. Bar No. 90785466)
                                               Daniel J. Brockwell (admitted pro hac vice)
Kyle J. Pozan (IL Bar No. 6306761)             600 W. Broadway, Suite 3300
1165 N. Clark Street, Suite 700                San Diego, CA 92101
Chicago, IL 60610                              (619) 233-4565
(312) 205-8968                                 pcoughlin@scott-scott.com
kjpozan@locklaw.com                            dbrockwell@scott-scott.com

Stephen J. Teti                                Patrick McGahan (admitted pro hac vice)
265 Franklin Street, Suite 1702                Michael Srodoski (admitted pro hac vice)
Boston, MA 02110                               156 South Main Street
(617) 456-7701                                 P.O. Box 192
sjteti@locklaw.com                             Colchester, CT 06415
                                               (860) 537-5537
                                               pmcgahan@scott-scott.com
                                               msrodoski@scott-scott.com

                Co-Lead Class Counsel for Non-Converter Seller Purchasers




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